       Case
        Case1:21-cr-00024-TNM
              1:21-cr-00263-TSC Document
                                 Document120-1
                                          46 Filed
                                               Filed
                                                   04/18/22
                                                     04/20/22Page
                                                              Page11
                                                                   ofof
                                                                      1515




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                              )
UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )
                                              )
      v.                                      )         Criminal Action No. 21-cr-263 (TSC)
                                              )
RUSSELL DEAN ALFORD,                          )
                                              )
               Defendant.                     )
                                              )

                                             ORDER

       Defendant Russell Dean Alford is charged by Information with four counts of criminal

conduct arising from the events at the U.S. Capitol on January 6, 2021:

       1. Entering and Remaining in a Restricted Building, in violation of 18 U.S.C. §
          1752(a)(1);

       2. Disorderly and Disruptive Conduct in a Restricted Building, in violation of 18
          U.S.C. § 1752(a)(2);

       3. Violent Entry and Disorderly Conduct in a Capitol Building, in violation of 40
          U.S.C. § 5104(e)(2)(D); and

       4. Parading, Demonstrating, or Picketing in a Capitol Building, in violation of 40
          U.S.C. § 5104(e)(2)(G).

       He moves to transfer his case to another venue, arguing that prejudice is so great in this

district that an impartial jury cannot be empaneled. ECF No. 40, Def.’s Motion. He contends

that there is a presumption of prejudice because of the political makeup of the District of

Columbia jury pool, the impact of the January 6 events on Washington, D.C. residents, and the

pretrial publicity surrounding the events of January 6, 2021. See id. at 5–13. Defendant asks

that if the court denies his motion to change venue, that it at least expand its examination of

prospective jurors to: (1) permit defense counsel to prepare and distribute a questionnaire to


                                                  Page 1 of 15
       Case
        Case1:21-cr-00024-TNM
              1:21-cr-00263-TSC Document
                                 Document120-1
                                          46 Filed
                                               Filed
                                                   04/18/22
                                                     04/20/22Page
                                                              Page22
                                                                   ofof
                                                                      1515




prospective jurors, (2) allow the parties to be present for any pre-screening questioning of

prospective jurors before the beginning of formal voir dire, and (3) allow the parties to question

jurors individually during voir dire. Id. at 14–15.

       The government opposes Defendant’s request to transfer venue and his request to prepare

and distribute a questionnaire to prospective jurors but does not oppose his request for the parties

to be present for any pre-screening questioning of prospective jurors before the beginning of

formal voir dire or his request to question jurors individually during voir dire. ECF No. 44,

Gov.’s Opp’n.

       For reasons explained herein, the court DENIES Defendant’s request to transfer venue

and GRANTS Defendant’s request to expand examination of prospective jurors.

                                       I.   LEGAL STANDARD

       The U.S. Constitution provides that criminal defendants shall be tried by an impartial jury

in the state where the crimes they are alleged to have committed occurred. U.S. Const. amend.

VI. When an impartial jury cannot be empaneled where the alleged crimes occurred, a trial may

be moved to a different venue to safeguard a defendant’s right to due process. Skilling v. United

States, 561 U.S. 358, 378 (2010) (“The Constitution’s place-of-trial prescriptions . . . do not

impede transfer of the proceeding to a different district at the defendant’s request if

extraordinary local prejudice will prevent a fair trial – a basic requirement of due process.”)

(internal quotation marks omitted) (emphasis added) (citation omitted). The law is well-

established that only in “the extreme case” will a presumption of inherent jury prejudice arise

from pretrial publicity. Id. at 381.

       In Skilling, former Enron executive Jeffrey Skilling challenged his conviction on the

grounds that pretrial publicity prevented him from receiving a fair trial in Houston, where Enron

was located and where its collapse cost thousands of local employees their jobs and caused
                                                Page 2 of 15
       Case
        Case1:21-cr-00024-TNM
              1:21-cr-00263-TSC Document
                                 Document120-1
                                          46 Filed
                                               Filed
                                                   04/18/22
                                                     04/20/22Page
                                                              Page33
                                                                   ofof
                                                                      1515




financial distress. 561 U.S. at 375–76. In considering the matter, the Court compared Skilling’s

prosecution to cases in which a change of venue was warranted due to pretrial publicity, and held

that no change was warranted in his case. Id. at 379.

       The Court cited Rideau v. Louisiana, 373 U.S. 723 (1963), in which the defendant’s

jailhouse confession to robbing a bank in a small town in Louisiana, kidnapping three

employees, and killing one of them was obtained by police without counsel present, filmed, and

broadcast to local audiences.

       [T]o the tens of thousands of people who saw and heard it, we explained, the
       interrogation in a very real sense was Rideau’s trial – at which he pleaded
       guilty. We therefore d[id] not hesitate to hold, without pausing to examine a
       particularized transcript of the voir dire, that [t]he kangaroo court proceedings
       trailing the televised confession violated due process.

Id. at 379 (quoting Rideau, 373 U.S. at 726–27) (internal quotation marks omitted).

       The Skilling Court cited two other cases in which “media coverage manifestly tainted”

criminal prosecutions: Estes v. Texas, 381 U.S. 532 (1965) and Sheppard v. Maxwell, 384 U.S.

333 (1966)). Those cases do not apply here because they involved media interference during

trial, see Skilling, 561 U.S. at 382 n.14, and Defendant does not claim the media has interfered

with proceedings before this court. 1

       Skilling made clear that extensive press coverage—even intense, negative press coverage

about a defendant—does not necessarily violate a defendant’s right to a fair trial. Id. at 380. The

Court rejected the Fifth Circuit’s conclusion that “the magnitude and negative tone of media

attention directed at Enron” was sufficient to raise a presumption of juror prejudice, finding that

the attention “did not present the kind of vivid, unforgettable information” likely to produce


1
  The trial in Estes was tainted by “overzealous reporting efforts” that led to “considerable
disruption,” denying the defendant the “judicial serenity and calm” he was entitled to have, and
the trial in Sheppard involved “bedlam” and a “carnival atmosphere” as “newsmen took over
practically the entire courtroom.” Skilling, 561 U.S. at 380–81 (citations omitted).
                                               Page 3 of 15
       Case
        Case1:21-cr-00024-TNM
              1:21-cr-00263-TSC Document
                                 Document120-1
                                          46 Filed
                                               Filed
                                                   04/18/22
                                                     04/20/22Page
                                                              Page44
                                                                   ofof
                                                                      1515




prejudice. Id. at 384; see also Nebraska Press Assn. v. Stuart, 427 U.S. 239, 554 (1976)

(“[P]retrial publicity – even pervasive, adverse publicity – does not inevitably lead to an unfair

trial.”); United States v. Caldwell, 543 F.2d 1333, 1342–43 (D.C. Cir. 1974) (holding that

“widespread, uncomplimentary publicity . . . without more, does not in itself constitute a

sufficient showing of prejudice”) (internal quotation marks omitted).

       The requirement that a jury be made up of “impartial, ‘indifferent jurors’” does not mean

jurors must be “totally ignorant of the facts and issues involved” in a case. United States

v. Haldeman, 559 F.2d 31, 60 (D.C. Cir. 1976) (citation omitted); see also Skilling, 561 U.S. at

360 (“[P]rominence does not necessarily produce prejudice, and juror impartiality does not

require ignorance.”) (emphasis in original). Over sixty years ago, the Supreme Court explained:

       In these days of swift, widespread and diverse methods of communication, an
       important case can be expected to arouse the interest of the public in the vicinity,
       and scarcely any of those best qualified to serve as jurors will not have formed some
       impression or opinion as to the merits of the case. This is particularly true in
       criminal cases. To hold that the mere existence of any preconceived notion as to
       the guilt or innocence of an accused, without more, is sufficient to rebut the
       presumption of a prospective juror’s impartiality would be to establish an
       impossible standard.

Irvin v. Dowd, 366 U.S. 717, 722–23 (1961). Since then, the advent of the internet and social

media have dramatically increased the prevalence and speed of information sharing. Now more

than ever, a standard that limits eligible jurors to those who carry no impressions or opinions of

the merits of a case would be an impossible one. Instead, the correct standard is whether “the

juror can lay aside his impression or opinion and render a verdict based on the evidence

presented in court.” Id. at 723 (citations omitted).

       In considering whether to transfer venue because of pretrial publicity, courts consider:

(1) the size and characteristics of the community in which the crime occurred, (2) the nature and

extent of the pretrial publicity, (3) the length of time between the reported crime and defendant’s

                                               Page 4 of 15
       Case
        Case1:21-cr-00024-TNM
              1:21-cr-00263-TSC Document
                                 Document120-1
                                          46 Filed
                                               Filed
                                                   04/18/22
                                                     04/20/22Page
                                                              Page55
                                                                   ofof
                                                                      1515




trial, and (4) any evidence of juror prejudice. Skilling, 561 U.S. at 382–84; In re Tsarnaev, 780

F.3d 14, 21–23 (1st Cir. 2015).

                                        II.    ANALYSIS

   A. Request to Transfer Venue

           1. Size and Characteristics of District of Columbia

       Defendant argues that the size and characteristics of the District of Columbia population

create a presumption that no impartial jury could be empaneled. First, he argues that the District

is relatively small, both in terms of population and geography, see Def.’s Mot. at 5–6

(contending that the District’s total population of around 670,000 resides in a space of just 68.34

miles), and thus it would be difficult to find District residents who have not been impacted by the

events of January 6 and subsequent media coverage, id. at 6. Defendant further contends that his

case naturally stokes “partisan passions that in this District would be overwhelmingly hostile” to

him. Id. at 7.

       The government responds that there is no reason to believe that the District’s entire

population was so affected by the January 6 events that the court cannot seat an impartial panel.

The court agrees.

       Courts routinely conclude that defendants can receive a fair trial in the location where

they committed their crimes, even though some members of the community were victimized.

See e.g., In re Tsarnaev, 780 F.3d 14, 15–16 (1st Cir. 2015) (Boston Marathon bombing);

Skilling, 561 U.S. at 399 (Enron collapse); United States v. Moussaoui, 43 F. App’x 612, 613

(4th Cir. 2002) (September 11, 2001 attacks, including on the Pentagon); United States v. Yousef,

327 F.3d 56, 155 (2d Cir. 2003) (1993 World Trade Center bombing). And in Skilling, the

Supreme Court rejected the contention that Enron’s “sheer number of victims” in the Houston

area “trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384 (citation omitted).
                                               Page 5 of 15
       Case
        Case1:21-cr-00024-TNM
              1:21-cr-00263-TSC Document
                                 Document120-1
                                          46 Filed
                                               Filed
                                                   04/18/22
                                                     04/20/22Page
                                                              Page66
                                                                   ofof
                                                                      1515




Although this district is less populous than most, but not all, federal judicial districts, voir dire is

still “well suited” to the task of inspecting prospective jurors’ connections to Defendant’s alleged

crimes. Id.

        Second, Defendant argues that no impartial jury can be empaneled here because his case

will “stoke partisan passions” that will be “overwhelmingly hostile” towards him. Def.’s Mot. at

7. Specifically, he contends that 92 percent of voters in this district voted for President Biden in

the 2020 election, and though he concedes that “[c]onscientiously held political views are no

reason to disqualify any juror,” he argues “those views nevertheless serve to heighten the

prejudice against” him. Id. at 7.

        Defendant’s argument is misleading and ultimately unavailing. He does not indicate

what percentage of District residents actually voted in the 2020 election, so his emphasis on

voters excludes many potential jurors who may not closely follow politics. Moreover, in the

exhibit attached to Defendant’s motion—the results of a survey of District residents

commissioned by the Federal Public Defender—59% of District respondents reported that they

consider themselves to be Democrats, while the other 41% reported that they consider

themselves to be Independents, Republicans, other, or that they did not know. Def.’s Mot., Ex.

A at 15. Defendant’s own evidence thus paints a more complex picture of the District’s political

views than he asserts.

        In any event, Defendant’s assumptions concerning party affiliation in the District are not

an appropriate basis for changing venue. Jurors’ political leanings are not, by themselves,

evidence that those jurors cannot fairly and impartially consider the evidence presented and

apply the law as instructed by the court. See, e.g., Haldeman, 559 F.2d at 61–62 (upholding

district court’s decision not to move Watergate-related trial and finding no reason to conclude



                                                 Page 6 of 15
       Case
        Case1:21-cr-00024-TNM
              1:21-cr-00263-TSC Document
                                 Document120-1
                                          46 Filed
                                               Filed
                                                   04/18/22
                                                     04/20/22Page
                                                              Page77
                                                                   ofof
                                                                      1515




“that the population of Washington, D.C. was so aroused against appellants” that they could not

decide the case based on the evidence presented at trial); United States v. Chapin, 515 F.2d 1274,

1286 (D.C. Cir. 1975) (rejecting the argument that “because of [the defendant’s] connection with

the Nixon administration and his participation in a ‘dirty tricks’ campaign aimed at Democratic

candidates and with racial overtones, a truly fair and impartial jury could not have been drawn

from the District’s heavily black, and overwhelmingly Democratic, population”).

       To be sure, some potential jurors may have impressions or opinions of Defendant based

on his presumed political views. But whether those impressions and opinions amount to

prejudicial bias is a matter to be assessed during voir dire. Until then, “[t]he law assumes that

every citizen is equally interested in the enforcement of the statute enacted to guard the integrity

of national elections, and that his political opinions or affiliations will not stand in the way of an

honest discharge of his duty as a juror in cases arising under that statute.” Connors v. United

States, 158 U.S. 408, 414 (1895); see also United States v. Stone, No. 19-CR-0018 (ABJ), 2020

WL 1892360 (D.D.C. Apr. 16, 2020) (rejecting argument that jurors “could not possibly view

[Roger Stone] independently from the President” because of his role in the presidential campaign

and the argument that “if you do not like Donald Trump, you must not like Roger Stone”).

           2. Nature and Extent of Pretrial Publicity

       Defendant argues that media coverage of January 6, 2021, has been “pervasive and

persistent” and has “overwhelmingly assigned collective fault to those who gathered at the

Capitol Building on January 6.” Def.’s Mot. at 8 (emphasis in original). Defendant provides no

data to show that the percentage of news coverage relating to January 6 has been more

“pervasive and persistent” in the District, and offers no evidence showing that media coverage

here has focused on the “collective” fault of January 6 Defendants. Instead, he contends that



                                                Page 7 of 15
        Case
         Case1:21-cr-00024-TNM
               1:21-cr-00263-TSC Document
                                  Document120-1
                                           46 Filed
                                                Filed
                                                    04/18/22
                                                      04/20/22Page
                                                               Page88
                                                                    ofof
                                                                       1515




“media outlets throughout the country” have created bitter prejudice here, more so than in other

districts.

         For support, Defendant points to the results of a phone survey commissioned by the

Federal Public Defender and conducted by a private organization. The survey interviewed 400

jury-eligible residents in this district and 400 jury-eligible residents in the Northern District of

Georgia about their exposure to media related coverage about the January 6 riots and defendants.

        For instance, the survey asked respondents:

        Thinking about the people who forced their way into the U.S. Capitol on January
        6, 2021, tell me whether you would or would not describe their actions [as] . . .
        Trying to overturn the election and keep Donald Trump in power.

Def.’s Mot., Ex. A at 15. In this district, 85 percent of respondents answered that they “Would”

use that description, 9 percent responded that they “Would not,” and 6 percent responded either

“Not Sure/Don’t know” or “Refused.” Id. In the Northern District of Georgia, 68 percent of

respondents answered that they “Would” use that description, 19 percent responded that they

“Would not,” and 13 percent responded either “Not Sure/Don’t know” or “Refused.”

        The survey also asked:

        From what you have heard or read, do you think the people who were arrested for
        activities related to those demonstrations are guilty or not guilty of the charges
        brought against them?

Id. at 14. In this district, 71 percent of respondents answered “Guilty,” 3 percent answered “Not

guilty”; and 26 percent volunteered an answer recorded as “Depends” or “Don’t know/Refused.”

Id. Among Georgia respondents, 54 percent answered “Guilty,” 10 percent answered “Not

guilty,” and the remaining 36 percent answered “Depends” or “Don’t know/Refused.” Id.

        Another question posed by the survey was:




                                                 Page 8 of 15
       Case
        Case1:21-cr-00024-TNM
              1:21-cr-00263-TSC Document
                                 Document120-1
                                          46 Filed
                                               Filed
                                                   04/18/22
                                                     04/20/22Page
                                                              Page99
                                                                   ofof
                                                                      1515




       Assume you are on a jury for a defendant charged with crimes for his or her
       activities on January 6th. Are you more likely to vote that the person is guilty or
       not guilty of those charges?

Id. In this district, 52 percent of respondents answered “Guilty,” 2 percent answered “Not

guilty,” and 46 percent volunteered an answer recorded as “Depends” or “Don’t know/Refused.”

Id. Among Georgia respondents, 45 percent answered “Guilty,” 9 percent answered “Not

guilty,” and the remaining 45 percent answered “Depends” or “Don’t know/Refused.” Id.

       Defendant argues that these responses show that District residents “have prejudged the

guilt of January 6 defendants” and illustrate the need to transfer venues. Id. Not so.

       The proper means for determining whether District residents are biased is not an 800-

person phone survey commissioned by one party, but rather, voir dire, which makes practical

sense for at least three reasons. First, polling lacks many of the safeguards of court-supervised

voir dire, including the involvement of both parties in formulating questions designed to root out

bias. Phone surveys, such as the one on which Defendant relies, may produce misleading results

if the survey suffers from non-response bias, contains leading questions, or provides respondents

with context that influences their responses. See Campa, 459 F.3d at 1146 (noting problems with

“non-neutral” and “ambiguous” questions). Second, polling lacks the formality of in-court

proceedings in which respondents are placed under oath, and it does not afford the court the

“face-to-face opportunity to gauge demeanor and credibility.” Skilling, 561 U.S. at 395. Third,

while Defendant contends that the poll’s results show that respondents have formed opinions

about January 6 defendants, that is not the ultimate question when picking a jury. A prospective

juror is not disqualified simply because they have “formed some impression or opinion as to the

merits of the case.” Irvin, 366 U.S. at 722. Instead, “[i]t is sufficient if the juror can lay aside

his impression or opinion and render a verdict based on the evidence presented in court.” Id. at



                                                 Page 9 of 15
        Case
         Case1:21-cr-00024-TNM
               1:21-cr-00263-TSC Document
                                  Document120-1
                                           46 Filed
                                                Filed
                                                    04/18/22
                                                      04/20/22Page
                                                               Page1010
                                                                      ofof
                                                                         1515




723. Pre-trial surveys are poorly suited to answering that ultimate question, which is best asked

in the context of face-to-face voir dire under oath. See Rosales-Lopez v. United States, 451 U.S.

182, 188 (1981) (observing that the trial judge’s function in voir dire “is not unlike that of the

jurors later in the trial” because “[b]oth must reach conclusions as to impartiality and credibility

by relying on their own evaluations of demeanor evidence and of responses to questions”).

        Accordingly, courts commonly reject such polls as unpersuasive in favor of effective voir

dire. For example, in Haldeman, seven former Nixon administration officials (including the

former Attorney General of the United States) were prosecuted for their role in the Watergate

scandal. 559 F.2d at 51. According to a poll commissioned by the defense in that case, 93% of

the Washington, D.C. population knew of the charges against the defendants and 61% had

formed the opinion that they were guilty. Id. at 178 n.2 (MacKinnon, J., concurring in part and

dissenting in part). Recognizing that the case had produced a “massive” amount of pretrial

publicity, id. at 61, the D.C. Circuit nevertheless held that the district court “was correct” to deny

the defendants’ “pre-voir dire requests for . . . a change of venue,” id. at 63-64. The court

observed that the district court “did not err in relying less heavily on a poll taken in private by

private pollsters and paid for by one side than on a recorded, comprehensive voir dire

examination conducted by the judge in the presence of all parties and their counsel.” Id. at 64

n.43.

        Other Circuits have reached similar conclusions. See, e.g., Campa, 459 F.3d at 1146

(rejecting the import of a pre-trial survey showing 69% of respondents were prejudiced against

anyone charged with spying on behalf of Cuba, as the defendants were, and reasoning that “it is

within the district court’s broad discretion to proceed to voir dire to ascertain whether the

prospective jurors have, in fact, been influenced by pretrial publicity”); United States v.



                                                Page 10 of 15
        Case
         Case1:21-cr-00024-TNM
               1:21-cr-00263-TSC Document
                                  Document120-1
                                           46 Filed
                                                Filed
                                                    04/18/22
                                                      04/20/22Page
                                                               Page1111
                                                                      ofof
                                                                         1515




Rodriguez, 581 F.3d 775 (8th Cir. 2009) (finding no presumption of prejudice where poll

indicated 88 percent of respondents believed defendant was guilty because district courts are not

required “to consider public opinion polls when ruling on change-of-venue motions” and because

“special voir dire protocols would screen out prejudiced jurors”). As one Circuit court observed,

the Supreme Court’s emphasis on the important role of voir dire in addressing pretrial publicity

“undercuts” the “argument that poll percentages . . . decide the question of a presumption of

prejudice.” In re Tsarnaev, 780 F.3d at 23; see Mu’Min v. Virginia, 500 U.S. 415, 427 (1991)

(reasoning that, “[p]articularly with respect to pretrial publicity, . . . primary reliance on the

judgment of the trial court makes good sense”).

         Even crediting the results of Defendant’s survey, the court is not persuaded that no

impartial jury can be empaneled here. For instance, the survey results indicate that levels of

media exposure to the events of January 6 are not significantly different in Atlanta than in

Washington, D.C. See Def.’s Mot., Ex. A at 1-2, 14. And when asked about whether they would

be more likely to find that a January 6 defendant is guilty or not guilty, 46 percent of District

respondents responded that it “Depends” or “Don’t know/Refused.” Though the survey failed to

provide respondents with the option of saying they were “unsure” about guilt, as some best

practices dictate, see American Society of Trial Consultants, Professional Standards for Venue

Surveys at 9 (“Respondents must be made aware that they can say they do not know or have no

opinion.”), 2 close to half of residents in this district indicated an open-mindedness about the guilt

of January 6 defendants. In short, the results of Defendant’s pre-trial survey do not demonstrate

that “12 impartial individuals could not be empaneled” in Washington, D.C. Skilling, 561 U.S.

at 382; see also Patton v. Yount, 467 U.S. 1025, 1029 (1984) (no presumption of prejudice where



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    Available at https://www.astcweb.org/Resources/Pictures/Venue%2010- 08.pdf.
                                                Page 11 of 15
      Case
       Case1:21-cr-00024-TNM
             1:21-cr-00263-TSC Document
                                Document120-1
                                         46 Filed
                                              Filed
                                                  04/18/22
                                                    04/20/22Page
                                                             Page1212
                                                                    ofof
                                                                       1515




nearly 99% of prospective jurors had heard of the case and 77% indicated on voir dire that “they

would carry an opinion into the jury box”).

       In any U.S. jurisdiction, most prospective jurors will have heard about the events of

January 6, and many will have various disqualifying biases. The appropriate way to identify and

address those biases is through careful voir dire that asks, among other things, whether

prospective jurors can “lay aside [their] impression[s] or opinion[s] and render a verdict based on

the evidence presented in court.” Irvin v. Dowd, 366 U.S. 717, 723 (1961). As in Haldeman,

there is “no reason for concluding that the population of Washington, D.C. [i]s so aroused

against [Defendant] and so unlikely to be able objectively to judge [his] guilt or innocence on the

basis of the evidence presented at trial” that a change of venue is required. 559 F.2d at 62.

           3. Length of Time Between January 6, 2021 and Defendant’s Trial

       In Skilling, the Supreme Court noted that the argument for presumed prejudice was

weakened by the passage of time: “[O]ver four years elapsed between Enron’s bankruptcy and

Skilling’s trial. Although reporters covered Enron-related news throughout this period, the

decibel level of media attention diminished somewhat in the years following Enron’s collapse.”

Skilling, 561 U.S. at 383. Here, while fourteen months have elapsed since Defendant’s alleged

offenses, Defendant argues that the court should presume prejudice because “the reckoning over

January 6 continues to generate front-page news.” Def.’s Mot. at 12.

       As an initial matter, more than fourteen months will have elapsed before Defendant’s

trial. On March 4, 2022, the court granted Defendant’s motion for additional time to review

discovery, see Min. Order (Mar. 4, 2022) (granting ECF No. 41, Def.’s Mot. to Continue Trial

and Exclude Time Under the Speedy Trial Act), and the parties have not requested a new trial

date. Defendant requests that the court continue to delay his trial to allow for expanded



                                              Page 12 of 15
      Case
       Case1:21-cr-00024-TNM
             1:21-cr-00263-TSC Document
                                Document120-1
                                         46 Filed
                                              Filed
                                                  04/18/22
                                                    04/20/22Page
                                                             Page1313
                                                                    ofof
                                                                       1515




examination of prospective jurors. As explained below, the court grants that request and will

provide counsel time to meet and confer to prepare a written questionnaire for prospective jurors

and submit it to the court for review and approval. The questionnaire must then be distributed

and prospective jurors must be given time to respond. The next status hearing is set for May 6,

2022, at which time the court will set a trial date that provides sufficient time for this process to

run. Moreover, the “mere existence of intense pretrial publicity is not enough to make a trial

unfair, nor is the fact that potential jurors have been exposed to this publicity.” United States v.

Childress, 58 F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975)

(juror exposure to “news accounts of the crime with which [a defendant] is charged” does not

“alone presumptively deprive[] the defend of due process”). Indeed, courts have declined to

transfer venue in some of the most high-profile prosecutions in recent American history. See In

re Tsarnaev, 780 F.3d at 15; Skilling, 561 U.S. at 399; Yousef, 327 F.3d at 155; Moussaoui, 43 F.

App’x at 613; Haldeman, 559 F.2d at 70.

       Defendant also contends that here, the passage of time supports his claim of prejudice

because “the focus of media attention and public discourse has shifted away from the raw details

of the events at the Capitol, and toward a matter that is far more prejudicial in this case:

diagnosing protesters’ motives.” See Def.’s Mot. at 13. He offers no evidence to support that

proposition, nor does he explain why voir dire is ill-suited to determine whether prospective

jurors will maintain an open mind about his alleged motives. He thus falls short of showing

“extraordinary local prejudice” that would warrant a venue change. Skilling, 561 U.S. at 378.

           4. Evidence of Jury Prejudice

       Because Defendant has not yet gone to trial, the final Skilling factor—whether the “jury’s

verdict . . . undermine[s] in any way the supposition of juror bias,” 561 U.S. at 383—is



                                                Page 13 of 15
      Case
       Case1:21-cr-00024-TNM
             1:21-cr-00263-TSC Document
                                Document120-1
                                         46 Filed
                                              Filed
                                                  04/18/22
                                                    04/20/22Page
                                                             Page1414
                                                                    ofof
                                                                       1515




inapposite. But the fact that Skilling considered this factor to be “of prime significance,” id.,

underscores how unusual it is to presume prejudice before trial. Ordinarily, a case should

proceed to trial in the district where the crime was committed, and courts can examine after trial

whether the record supports a finding of actual or presumed prejudice.

       Ultimately, none of the Skilling factors support Defendant’s contention that the court

should presume prejudice and order a transfer of venue without even conducting voir dire.

   B. Request to Expand Prospective Juror Examination

       In the alternative to a change of venue, Defendant requests that the court expand

examination of prospective jurors by (1) circulating a written questionnaire to summoned

prospective jurors, (2) allowing the parties to be present during any “pre-screening” questioning

before formal voir dire, and (3) conducting individual questioning during voir dire. Def.’s Mot.

at 14-15. The government concurs only in the second and third of these requests.

       Defendant’s case is in many ways unique. Unlike most crimes that involve an

identifiable victim or victims, the victims of Defendant’s alleged crimes are more nebulous. The

government alleges that Defendant acted knowingly and with intent to impede and disrupt a Joint

Session of Congress convened to certify the results of the 2020 Presidential election. This

allegation goes to the heart of the democratic process and arguably affects all Americans. And

without question, there has been extensive media coverage of the January 6 events. Many

District residents—and Americans throughout the country—including those who were not at the

Capitol on January 6, may thus hold impressions and opinions about the day’s events. Whether

those impressions and opinions amount to disqualifying bias or whether prospective jurors can

set aside any impressions and opinions and view the evidence against Defendant with an

objective and open mind, is a question that deserves careful consideration. Accordingly, while



                                               Page 14 of 15
      Case
       Case1:21-cr-00024-TNM
             1:21-cr-00263-TSC Document
                                Document120-1
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                                                  04/18/22
                                                    04/20/22Page
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Defendant falls short of showing that no impartial jury can be empaneled here, the court finds

good reason to expand examination of prospective jurors in each of the three ways he requests.

       First, defense counsel will be permitted to prepare a written questionnaire for distribution

to prospective jurors. Defense counsel shall meet and confer with the government regarding the

questionnaire before submitting it for court approval. 3 To the extent the parties do not agree on

any question, defense counsel, at the time it submits the proposed questionnaire, shall also

submit a joint filing identifying the disputed language and succinctly stating the parties’

respective positions. After review and approval by the court, the questionnaire will be

distributed to summoned prospective jurors to return before trial. Second, the parties may be

present for any pre-screening questioning of prospective jurors that the court conducts before the

beginning of formal voir dire. And third, the parties will be permitted to ask reasonable follow-

up questions of individual jurors during voir dire. This expanded examination will effectively

screen for prejudice among potential jurors in this case.

                                      III.   CONCLUSION

       For reasons set forth above, the court DENIES Defendant’s request to transfer venue and

GRANTS his request to expand examination of prospective jurors.



Date: April 18, 2022

                                              Tanya S. Chutkan
                                              TANYA S. CHUTKAN
                                              United States District Judge




3
  The court’s broad discretion in jury selection “includes deciding what questions to ask
prospective jurors,” and that “discretion does not vanish when a case garners public attention.”
United States v. Tsarnaev, 142 S. Ct. 1024, 1034 (2022).
                                               Page 15 of 15
